  Case 8-12-71025-reg             Doc 16      Filed 07/18/12    Entered 07/19/12 09:52:21




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                           Chapter 7

Donald M. Cotter and Julie F. Cotter                             Case No. 12-71025-reg

                                                                 ORDER
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        Donald M. Cotter and Julie F. Cotter, (Debtor) by their attorneys, Macco & Stern,

LLP, having moved this Court pursuant to a Notice of Motion dated June 12, 2012

seeking an Order to reopen Chapter 7 case pursuant to 11 U.S.C. Section 350(b); to

amend Schedule C and seeking an Order pursuant to 11 USC §522(f), avoiding the

Judicial Liens filed against the debtors’ real property located at 110 Bay Drive East,

Huntington, New York 11743 by Capital One Bank USA NA and American Express

Centurion Bank and no opposition having been filed with the Court and the Court having

found that the judicial liens above mentioned impair the debtors Homestead Exemption

and sufficient cause having been shown, it is

        ORDERED, that the this Chapter 7 case is reopened and upon the reopening the

filing fee is waived, and it is further



        ORDERED, that the judicial lien of Capital One Bank USA NA perfected

December 9, 2011 in the sum of $3,384.59 is hereby vacated, expunged and avoided, and

it is further

        ORDERED, that the judicial lien of Capital One Bank USA NA perfected

November 15, 2011 in the sum of $10,376.47 is hereby vacated, expunged and avoided,

and it is further
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        ORDERED, that the judicial lien of American Express Centurion Bank perfected

March 7, 2011 in the amount of $18,549.58 is hereby vacated, expunged and avoided,

and it is further

        ORDERED, that the County Clerk of the Suffolk Court in which the Debtor

resides be, and is hereby directed, to index and record a certified copy of this Order as an

instrument vacating, expunging, and avoiding the aforementioned judicial liens.
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Dated: Central Islip, New York                            Robert E. Grossman
       July 18, 2012                                 United States Bankruptcy Judge
